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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


 In re:


 ANTONY LE,

                  Debtor.
                                                                l:18-cv-01532(LMB/TCB)
                                                       )
 DONALD F. KING,TRUSTEE,                               )        18-01055-KHK

                 Plaintiff,

           V.



 FANG-LING CHEN,

 and


 FANG-LING NAILS & SPA,LLC,

                  Defendants.


                                              ORDER


          Before the Court is a Report and Recommendation ("Report")issued by a bankruptcy

judge on November 20,2018 pkt. No. 2], which recommends that defaultjudgment be entered

in this adversary action against defendants Fang-Ling Chen and Fang-Ling Nails & Spa, LLC

("defendants") and that plaintiff Donald F. King, Trustee ("plaintiff) be awarded $58,231.00 in

damages and post-judgment interest. See Report 4. At issue is the allegation that defendants

agreed to purchase from debtor Antony Le("debtor") all the assets of the business known as

"Fang-Ling Nails & Spa" and that defendants failed to pay the amounts due to the debtor under a

Purchase Money Note. Id at 2-3. The parties were advised that any objections to the Report had

to be filed within 14 days and that failure to file a timely objection waived the right to appeal the
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